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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

QONDUIT, LLC                                 §
                                             §
v.                                           §       CASE NO. 6:14cv907-JDL
                                             §
AVIA LIFE AND ANNUITY                        §
COMPANY                                      §

                                     FINAL JUDGMENT

         Pursuant to Plaintiff’s Notice of Dismissal, the Court hereby enters Final Judgment.

Plaintiff
      . Qonduit, LLC, filed suit against Avia Life and Annuity Company on December 8, 2014.

Since that time, all Defendants have been dismissed in this case.

         IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITHOUT PREJUDICE. All costs are to be borne by the party that incurred

them.

         All motions by either party not previously ruled on are hereby DENIED.

         The Clerk of the Court is directed to close this case.
           SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 30th day of June, 2015.
